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     Chapter 11 Trustee
 8

 9
                             UNITED STATES BANKRUPTCY COURT
10
                              CENTRAL DISTRICT OF CALIFORNIA
11
                                       SANTA ANA DIVISION
12

13
                                                        Case No.: 8:23-bk-10571-SC
14   In re:
                                                        Chapter 11
15   THE LITIGATION PRACTICE GROUP P.C.,
                                                        Adv. Proc. No. 8:23-ap-01046-SC
16            Debtor.
                                                        SUPPLEMENTAL PROOF OF SERVICE
17                                                      FOR STIPULATION RE PARTIAL
     RICHARD A. MARSHACK,                               SETTLEMENT OF CLAIMS AND
18   Chapter 11 Trustee,                                MODIFICATION OF ORDER ON
                                                        TRUSTEE, RICHARD MARSHACK’S
19                                                      OMNIBUS EMERGENCY MOTION AS
                                                        TO COVERED PARTIES AND
20                        Plaintiff,                    DEFENDANTS, CONSUMER LEGAL
                                                        GROUP, P.C. AND LGS HOLDCO, LLC
21
                                                        [No Hearing Required]
22                          v.
     TONY DIAB, an individual; DANIEL S.
23   MARCH, an individual; ROSA BIANCA LOLI,
     an individual; LISA COHEN, an individual;
24   WILLIAM TAYLOR CARSS, an individual;
     ENG TANG, an individual; MARIA EEYA TAN,
25   an individual; JAKE AKERS, an individual; HAN
     TRINH, an individual; JAYDE TRINH, an
26   individual; WES THOMAS, an individual;
     SCOTT JAMES EADIE, an individual; JIMMY
27   CHHOR, an individual; DONGLIANG JIANG,
     an individual; OAKSTONE LAW GROUP PC;
28   GREYSON LAW CENTER PC; PHOENIX

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     #31080386v1
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     LAW GROUP, INC.; MAVERICK
 1   MANAGEMENT, LLC; LGS HOLDCO, LLC;
     CONSUMER LEGAL GROUP, P.C.; VULCAN
 2   CONSULTING GROUP LLC; B.A.T. INC. d/b/a
     COAST PROCESSING; PRIME LOGIX, LLC;
 3   TERACEL BLOCKCHAIN FUND II LLC;
     EPPS; EQUIPAY; AUTHORIZE.NET; WORLD
 4   GLOBAL; OPTIMUMBANK HOLDINGS, INC.
     d/b/a OPTIMUM BANK; MARICH BEIN, LLC;
 5   BANKUNITED, N.A.; REVOLV3, INC.;
     FIDELITY NATIONAL INFORMATION
 6   SERVICES, INC. d/b/a FIS; WORLDPAY, INC.;
     WORLDPAY GROUP; MERIT FUND, LLC;
 7   GUARDIAN PROCESSING, LLC; THE
     UNITED STATES POSTAL SERVICE; and
 8   DOES 1 through 100, inclusive,
 9
10                      Defendants.

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                              PROOF OF SERVICE OF DOCUMENT
 1
     I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
 2     address is:
                                               Dinsmore & Shohl LLP
 3                                        550 S. Hope Street, Suite 1765
                                           Los Angeles, California 90071
 4
      A true and correct copy of the foregoing document entitled (specify): Stipulation Re Partial
 5    Settlement of Claims and Modification of Order on Trustee, Richard Marshack’s Omnibus
      Emergency Motion as to Covered Parties and Defendants, Consumer Legal Group, P.C. and
 6    LGS Holdco, LLC will be served or was served (a) on the judge in chambers in the form and manner
      required by LBR 5005-2(d); and (b) in the manner stated below:
 7
     1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
      controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
 8
      hyperlink to the document. On June 30, 2023, I checked the CM/ECF docket for this bankruptcy case or
      adversary proceeding and determined that the following persons are on the Electronic Mail Notice List to
 9
      receive NEF transmission at the email addresses stated below:
10
                                                                 Service information continued on attached page
11
     2. SERVED BY UNITED STATES MAIL:
12
      On (date) June 30, 2023, I served the following persons and/or entities at the last known addresses in
      this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
13
      envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the
      judge here constitutes a declaration that mailing to the judge will be completed no later than 24 hours
14
      after the document is filed.
15
                                                                 Service information continued on attached page
16
     3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL
17
      (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on
      June 30, 2023, I served the following persons and/or entities by personal delivery, overnight mail service,
18
      or (for those who consented in writing to such service method), by facsimile transmission and/or email as
      follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to,
19
      the judge will be completed no later than 24 hours after the document is filed.
20
                    Forth Technology, Inc. fka Debt Pay, Inc.
21                   c/o Michael McKnight: M.McKnight@setforth.com

22                  Consumer Legal Group, P.C.
                     c/o Jason Rebhun: jason@jasonrebhun.com
23
                                                                 Service information continued on attached page
24
     I declare under penalty of perjury under the laws of the United States that the foregoing is true and
25     correct.

26   June 30, 2023            Jonathan Serrano                 /s/ Jonathan Serrano
     Date                     Printed Name                        Signature
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